                    UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                3:07CV213-W-1
                               (3:03CR134-MU)



JAPLIN D. CURETON,              )
                                )
      Petitioner,               )
                                )
             v.                 )                      ORDER
                                )
UNITED STATES OF AMERICA,       )
                                )
   Respondent.                  )
________________________________)


      THIS MATTER is before the Court for an initial review of Petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence and supporting memorandum (Doc. Nos. 1 and

2), filed May 24, 2007.

      A review of the subject Motion to Vacate, along with pertinent Court records reflects

that on or about July 29, 2003, Petitioner was one of seven individuals indicted and

charged with conspiracy to possess with intent to distribute cocaine and cocaine base in

violation of 21 U.S.C. §§ 841 and 846 and with possession with intent to distribute in

violation of 21 U.S.C. § 841. On September 29, 2003, Petitioner and the Government filed

a Plea Agreement with this Court. On October 20, 2003, the parties filed a Revised Plea

Agreement. On November 11, 2003, Petitioner entered a guilty plea at his Rule 11

hearing.   On September 29, 2004, this Court sentenced Petitioner to 262 months

imprisonment and eight years of supervised release. Judgment was entered on October

8, 2004. Petitioner appealed his conviction and sentence to the United States Court of



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Appeals for the Fourth Circuit. On June 27, 2005, the Fourth Circuit affirmed Petitioner’s

conviction and sentence. On July 19, 2005, the mandate was issued. Petitioner did not file

a writ of certiorari with the United States Supreme Court. On May 24, 2007, Petitioner filed

the instant Motion to Vacate.

       In 1996 Congress enacted the Antiterrorism and Effective Death Penalty Act (the

“AEDPA”). Among other things, the AEDPA amended 28 U.S.C. §2255 by imposing a 1-

year statute of limitations period for the filing of a motion to vacate. Such amendment

provides:

       A 1-year period of limitation shall apply to a motion under this section. The limitation

period shall run from the latest of–

       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by
       governmental action in violation of the Constitution or laws of the United
       States is removed, if the movant was prevented from making a motion by
       such governmental action;

       (3) the date on which the right asserted was initially recognized by the
       Supreme Court and made retroactively applicable to cases on collateral
       review; or

       (4) the date on which the facts supporting the claim or claims presented
       could have been discovered through the exercise of due diligence.

       Here, the record is clear that Petitioner’s conviction became final on or about

October 17, 2005. See Clay v. United States, 537 U.S. 522 (2003)(federal criminal

conviction becomes final when time for filing petition for certiorari contesting appellate

court’s affirmation of conviction expires). Petitioner did not file the instant Motion to Vacate

until over one year and seven months after his conviction became final, and thus it appears

to the Court that Petitioner’s Motion to Vacate is untimely.

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       Anticipating this result,1 Petitioner argues that his Motion to Vacate is timely

because his limitation period should begin to run on July 19, 2006, the date he first

discovered that the judgment in his two predicate state court convictions were formally

consolidated for sentencing by a November 2000 court Order. Petitioner states that he

discovered this fact when he received a packet of legal documents from his girlfriend.

       The “discovery of facts” trigger for AEDPA’s limitation period requires that a

petitioner demonstrate that he used due diligence to discover the fact. 28 U.S.C. §

2255(4). Petitioner has failed to satisfy this criteria. Petitioner provides no explanation as

to why he could not have discovered the 2000 state court order at an earlier date. Indeed,

in his motion Petitioner states that he asked his girlfriend to retrieve his state court records

on June 25, 2006, and she mailed them to him less than a month later in the middle of July

2006. Petitioner does not identify any impediment whatsoever to his discovering his state

court judgment at an earlier date. Section 2255(4) is concerned with the discovery of facts




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              In January 2002, the United States Court of Appeals for the Fourth Circuit
decided the case of Hill v. Braxton, 277 F.3d 701, 706 (4th Cir. 2002). In Hill, the Court
concluded that “when a federal habeas court, prior to trial, perceives a pro-se § 2254
petition to be untimely and the state has not yet filed a motion to dismiss based on the one-
year limitations period, the [district] court must warn the prisoner that the case is subject
to dismissal . . . absent a sufficient explanation . . . .” The Fourth Circuit premised its
holding in Hill on the fact that a pro se petitioner is unlikely “to preempt an anticipated
statute of limitations defense by including facts to show that the petition is timely.” Id. at
707. Typically, this Court issues Hill notices in § 2255 cases as well. See United States
v. Sosa, 364 F.3d 507 (4th Cir. 2004). However, in the instant case, Petitioner, unlike the
petitioner in Hill, addressed the issue of the timeliness of his petition. Accordingly, given
the fact that at the time he filed his Motion to Vacate, Petitioner knew of AEDPA’s limitation
period and argued at length that his Motion to Vacate should be considered timely, this
Court concludes that it need not provide Petitioner with any additional opportunities to
address such matters.

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not the realization of the legal consequences of facts.2

       In the alternative, Petitioner argues that even if this Court does not hold that his

receipt of his state court file should start the running of his limitation period, this Court

should find that his limitation period under AEDPA should be equitably tolled. In support

of his argument Petitioner merely states that “extraordinary circumstances” prevented him

from filing his Motion to Vacate within one year of his conviction becoming final. Such a

generalized assertion is wholly insufficient to establish the need for equitable tolling. The

United States Court of Appeals for the Fourth Circuit has stated that “any invocation of

equity to relieve the strict application of a statute of limitations must be guarded and

infrequent lest circumstances of individualized hardship supplant the rules of clearly drafted

statutes.” See Harris v. Hutchinson, 209 F.3d 325, 330(4th Cir. 2000). That is, equitable

tolling is “reserved for those rare instances where - due to circumstances external to the

party’s own conduct – it would be unconscionable to enforce the limitation period against

the party and gross injustice would result.” Id. at 330. Petitioner does not identify any

outside impediment to his obtaining his state court records. Indeed, it appears once he

decided he wanted to obtain the court documents it took him less than a month to receive

them. As such, this Court does not find that Petitioner’s situation warrants the invocation

of equitable tolling.




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          In support of his argument, Petitioner cites to a line of cases which addresses
issues involved when a prior state court conviction is vacated after the individual has been
sentenced in federal court. These cases are not on point with Petitioner’s case. Unlike the
cases cited to by Petitioner, there was no new state court action in his case. Rather,
Petitioner is arguing that his limitation period should run from the time he learned of the
nature of a particular order and its alleged importance to his federal case.

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       In conclusion, this Court holds that Petitioner has not established that the existence

of his state court judgment was a fact that he could not have discovered earlier with due

diligence. In addition, Petitioner has not presented the Court with any circumstances that

would warrant the equitable tolling of his limitation period under AEDPA. Consequently,

this Court holds that Petitioner’s Motion to Vacate is untimely.

       NOW, THEREFORE, IT IS HEREBY ORDERED that Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence is DISMISSED as untimely.



                                             Signed: June 2, 2007




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